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 3   Fresno, California 93704
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 5
     Attorney for Defendant STEVEN PROUT
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT FOR THE
 9                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )             CASE NO. CR-F-04-5244 OWW
                                   )
12             Plaintiff,          )            STIPULATION TO CONTINUE
                                   )            STATUS HEARING,
13   vs.                           )            AND ORDER THEREON
                                   )
14   STEVEN PROUT et al.           )
                                   )
15                                 )
               Defendants.         )            DATE:          January 7, 2008
16   ______________________________)            TIME:          1:30 p.m.
                                                JUDGE:         Oliver W. Wanger
17
18                                     STIPULATION
19           It is hereby stipulated by and between the parties hereto
20   that the status hearing in the above entitled matter now set for
21   January 7, 2008, may be continued to January 28, 2008 at 1:30 p.m.
22           The parties agree that time shall be excluded pursuant to 18
23   U.S.C. §§ 3161, subd.(h)(8)(A) and (B) in that the ends of justice
24   served by the continuance outweigh the best interest of the public
25   and the defendant in a speed trial, since the failure to grant
26   such a continuance would deny counsel for the defendant the
27   reasonable time necessary for effective preparation, taking into
28   account the exercise of due diligence.


     U.S. vs. Prout                                      Stipulation/Proposed Order
     Case No. 04-5244 OW W
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 1   DATED: January 2, 2008              FLETCHER & FOGDERUDE, Inc.
 2
                                         /s/ Eric K. Fogderude
 3                                       ERIC K. FOGDERUDE
                                         Attorney for Defendant,
 4                                       STEVEN PROUT
 5
     DATED: January 2, 2008               /s/ Katherine Hart
 6                                       KATHERINE HART,
                                         Attorney for Defendant
 7                                       CLAUDE A. STROHL aka CLYDE A. STROHL
 8
     Dated: January 2, 2008              McGREGOR W. SCOTT
 9                                       United States Attorney
10
                                          /s/ Stanley Boone
11                                       STANLEY BOONE
                                         Assistant US Attorney
12
13                                        ORDER
14
             IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C.
15
     § 3161, subd.(h)(8)(A) and (B).        For the above stated reasons, the
16
     court finds that the ends of justice served by the dely outweigh
17
     the best interest of the public and the defendants in a speedy
18
     trial. Therefore, the court grants the stipulation that the Status
19
     hearing be continued to January 28, 2008 at 1:30 p.m.
20
21
22
     IT IS SO ORDERED.
23
     Dated: January 3, 2008                  /s/ Oliver W. Wanger
24   emm0d6                             UNITED STATES DISTRICT JUDGE
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     U.S. vs. Prout                                    Stipulation/Proposed Order
     Case No. 04-5244 OW W                  2
